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                     UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

UNITED STATES OF AMERICA        )
         Plaintiff              )
                                )
vs.                             )               INDICTMENT NO:
                                )               1:21-CR-143
                                )
VICTOR HILL,                    )
          Defendant.            )
______________________________ )

MOTION FOR CONTINUANCE OF THE PRETRIAL CONFERENCE AND FOR
         ADDITIONAL TIME TO FILE PRETRIAL MOTIONS

      COMES NOW the defendant, Sheriff Victor Hill, by and through undersigned

counsel and moves that his case be continued and that he be allowed additional time

to file pretrial motions for the following reasons:

                                           1.

      This case is currently set for a pretrial conference on Thursday, May 13, 2021

at 10:30 a.m. before U.S. Magistrate Judge Christopher Bly. As per the scheduling

order, the current deadline for pretrial motions is May 11, 2021.

                                           2.

      Sheriff Hill is still in the process of receiving discovery from the government.

An initial packet was provided at arraignment, but undersigned counsel has been

informed by AUSA Brent Gray that there is still outstanding discovery that he will be
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providing forthwith. Once discovery is made available, Sheriff Hill would need time

to review and file any applicable pretrial motions.

                                           3.

      Undersigned counsel has reached out to AUSA Brent Gray regarding this

request and he has indicated that he has no objection to a continuance.

                                           4.

      At this time, Sheriff Hill is requesting a continuance of sixty days to allow for

the discovery process to be completed.



      Therefore, Sheriff Hill respectfully requests that this Motion for Continuance

be granted and that the Court exclude the period of the continuance from computation

under the Speedy Trial Act pursuant to 18 U.S.C. § 3161(7)(A).

                                                      Respectfully submitted,

                                                      s/Drew Findling
                                                      DREW FINDLING
                                                      Georgia Bar No. 260425
                                                      The Findling Law Firm, P.C.
                                                      One Securities Centre
                                                      3490 Piedmont Road, Suite 600
                                                      Atlanta, Georgia 30305
                                                      Office (404) 460-4500


                                                      s/Marissa Goldberg
                                                      MARISSA GOLDBERG
                                                      Georgia Bar No. 672798
                                                      The Findling Law Firm, P.C.
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                                      One Securities Centre
                                      3490 Piedmont Road, Suite 600
                                      Atlanta, Georgia 30305
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                          CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing motion:

MOTION FOR CONTINUANCE AND FOR ADDITIONAL TIME TO FILE
PRETRIAL MOTIONS



Was served upon opposing counsel:

Assistant United States Attorney Brent Gray


By ECF Filing.



Dated: May 10, 2021



                                              s/Marissa Goldberg_________
                                              Marissa Goldberg
                                              Georgia Bar No. 672798
